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14     Plaintiffs and the Proposed Class
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16                                   NORTHERN DISTRICT OF CALIFORNIA
                                           OAKLAND DIVISION
17
                                                              Case Nos. 4:22-cv-06823-JST
18   J. DOE 1, et al.,                                                  4:22-cv-07074-JST
19                Individual and Representative Plaintiffs,

20           v.
                                                              CERTIFICATE OF SERVICE
     GITHUB, INC., et al.,
21
                                              Defendants.
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        4:22-cv-06823-JST
                                                CERTIFICATE OF SERVICE
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 1                                    CERTIFICATE OF SERVICE

 2          I, the undersigned, am employed by the Joseph Saveri Law Firm, LLP. My business

 3   address is 601 California Street, Suite 1000, San Francisco, California 94108. I am over the age of

 4   eighteen and not a party to this action.

 5          On June 8, 2023, I served the following documents by email upon all persons appearing on

 6   the attached Service List:

 7
                   FIRST AMENDED COMPLAINT FILED UNDER SEAL
 8                 REDLINE OF FIRST AMENDED COMPLAINT FILED UNDER SEAL
 9
            I declare under penalty of perjury that the foregoing is true and correct. Executed on June
10
     8, 2023, at San Francisco, California.
11
                                                         /s/ Amara Getzell
12
                                                           Amara Getzell
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                                                CERTIFICATE OF SERVICE
             Case 4:22-cv-06823-JST Document 100 Filed 06/08/23 Page 3 of 3




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                                            CERTIFICATE OF SERVICE
